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      In The United States Court of Federal Claims
                                           No. 09-75C

                                      (Filed: June 24, 2011)
                                           __________
 KLAMATH CLAIMS COMMITTEE,

                        Plaintiff,

        v.

 THE UNITED STATES,

                        Defendant.

                                           __________

                                            ORDER
                                           __________

        On June 22, 2011, the court received a letter from plaintiff requesting additional time to
obtain counsel in this case. On or before July 26, 2011, plaintiff shall obtain counsel and that
counsel shall file a notice of appearance (pursuant to RCFC 83.1(c)(3)(A)). If plaintiff fails to
obtain counsel in this matter by the date ordered, this court will issue an order to show cause why
this case should not be dismissed for lack of prosecution. The Clerk is hereby ordered to
effectuate service of this order directly on plaintiff at 62185 Crown Point Road, Coos Bay, OR
97420.

       IT IS SO ORDERED.


                                                        s/ Francis M. Allegra
                                                        Francis M. Allegra
                                                        Judge
